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 1                                                                Hon. Richard A. Jones

 2

 3
                              UNITED STATES DISTRICT COURT
 4
                             WESTERN DISTRICT OF WASHINGTON
 5                                     AT SEATTLE

 6    HARISH BAJAJ et al.,                              NO. 2:22-cv-00189-RAJ

 7                                                      ORDER REGARDING
                              Plaintiff(s),             FRCP 26(f) CONFERENCE,
 8              v.                                      INITIAL DISCLOSURES,
                                                        AND JOINT STATUS REPORT
 9   ANTONY J. BLINKEN et al.,

10                            Defendant(s).

11
                              I. INITIAL SCHEDULING DATES
12
           The Court sets the following initial case scheduling deadlines:
13

14
           Deadline to Conduct FRCP 26(f) Conference:              March 10, 2022

15         Deadline to Exchange Initial Disclosures
           Pursuant to FRCP 26(a)(1)
16         (Initial Disclosures are not to be filed):              March 17, 2022

17         Deadline to File Combined Joint Status Report
           and Discovery Plan as Required by FRCP 26(f)
18         and Local Civil Rule 26(f):                             March 24, 2022
19
           The deadlines above may be extended only by the Court. Any request for an
20
     extension of these deadlines should be made by email to Victoria Ericksen, Courtroom
21 Deputy, at victoria_ericksen@wawd.uscourts.gov. The parties who have already

22 appeared in this matter are required to meet and confer before contacting the Court to
     request an extension.
23



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 1          If this case involves claims which are exempt from the requirements of FRCP

 2 26(a) and 26(f), please notify Victoria Ericksen, Courtroom Deputy, at
     victoria_ericksen@wawd.uscourts.gov.
 3
                    II. JUDGE-SPECIFIC PROCEDURAL INFORMATION
 4
            Counsel and pro se parties are directed to review Judge Jones’ chambers
 5
     procedures at http://www.wawd.uscourts.gov/judges/jones-procedures. Counsel and pro
 6
     se parties are expected to abide by the requirements set forth therein. Failure to do
 7 so may result in the imposition of sanctions.

 8          Links to Local Rules, Electronic Filing Procedures for Civil and Criminal Cases,

 9 court forms, instruction sheets, and General Orders, can be found on the Court’s website
     at www.wawd.uscourts.gov.
10
                    III. JOINT STATUS REPORT AND DISCOVERY PLAN
11
            All counsel and any pro se parties are directed to confer and provide the Court
12
     with a combined Joint Status Report and Discovery Plan (the “Report”) by
13
     March 24, 2022. This conference shall be by direct and personal communication,
14 whether that be a face-to-face meeting or a telephonic conference. The Report will be

15 used in setting a schedule for the prompt completion of the case. It must contain the
     following information by corresponding paragraph numbers:
16
            1.      A statement of the nature and complexity of the case.
17
            2.      A proposed deadline for joining additional parties.
18          3.      The parties have the right to consent to assignment of this case to a full
19 time United States Magistrate Judge, pursuant to 28 U.S.C. §636(c) and Local Rule MJR

20 13, to conduct all proceedings. The Western District of Washington assigns a wide range
     of cases to Magistrate Judges. The Magistrate Judges of this district thus have significant
21
     experience in all types of civil matters filed in our court. The parties should indicate
22
     whether they agree that the Honorable S. Kate Vaughan may conduct all proceedings
23 including trial and the entry of judgment. When responding to this question, the parties

     should only respond "yes" or "no.” Individual party responses should not be provided.
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 1 A "yes" response should be indicated only if all parties consent. Otherwise, a "no"

 2 response should be provided.
            4.      A discovery plan that states, by corresponding paragraph letters (A, B, etc.),
 3
     the parties’ views and proposals on all items set forth in Fed. R. Civ. P. 26(f)(3), which
 4
     includes the following topics:
 5                  (A)    the exchange of initial disclosures;
 6                  (B)    subjects, timing, and potential phasing of discovery;
                    (C)    electronically stored information;
 7
                    (D)    privilege issues;
 8
                    (E)    proposed limitations on discovery; and
 9                  (F)    the need for any discovery related orders.
10          5.      The parties’ views, proposals, and agreements, by corresponding paragraph

11 letters (A, B, etc.) on all items set forth in Local Civil Rule 26(f)(1), which includes the
     following topics:
12
                    (A)    alternative dispute resolution;
13
                    (B)    The existence of any related cases pending in this or other
14
                           jurisdictions and a proposal for how to handle them;
                    (C)    phasing of motions;
15
                    (D)    preservation of discoverable information;
16                  (E)    Model Protocol for Discovery of ESI; and
17                  (F)    alternatives to Model Protocol.

18          6.      The date by which discovery can be completed (must be at least 120 days
     prior to the proposed trial date).
19
            7.      Whether the case should be bifurcated by trying the liability issues before
20
     the damages issues, or bifurcated in any other way.
21          8.      The date the case will be ready for trial. The Court expects that most civil
22 cases will be ready for trial within a year after filing the Joint Status Report and
     Discovery Plan.
23



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 1          9.       Whether the trial will be jury or non-jury.

 2          10.      The number of trial days required.
            11.      The names, addresses, and telephone numbers of all trial counsel.
 3
            12.      The dates on which trial counsel may have complications to be considered
 4
     in setting a trial date.
 5          13.      The dates on which each and every non-governmental corporate party filed
 6 its corporate disclosure statement pursuant to FRCP 7.1 and LCR 7.1.
            If the parties are unable to agree on any part of the Report, they may answer in
 7
     separate paragraphs. No separate reports are to be filed.
 8
                                       IV. PRIVACY POLICY
 9
            Pursuant to LCR 5.2(a), parties are to redact the following information from
10
     documents and exhibits before they are filed with the Court:
11
                  • Dates of Birth − redact to the year of birth, unless deceased.
12                • Names of Minor Children − redact to the initials, unless deceased or
13                   currently over the age of 18.

14
                  • Social Security or Taxpayer ID Numbers − redact in their entirety.
                  • Financial Accounting Information − redact to the last four digits.
15
                  • Passport Numbers and Driver License Numbers − redact in their entirety.
16
                                V. PLAINTIFF'S RESPONSIBILITY
17
            This Order is issued at the outset of the case, and a copy is sent by the clerk to
18
     counsel for plaintiff (or plaintiff, if pro se) and any defendants who have appeared.
19 Plaintiff's counsel (or plaintiff, if pro se) is directed to serve copies of this Order on all

20 parties who appear after this Order is filed. Such service shall be accomplished within

21 ten (10) after each appearance. Plaintiff's counsel (or plaintiff, if pro se) will be
     responsible for starting the communications needed to comply with this Order.
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          VI. EARLY SETTLEMENT CONSIDERATION AND NOTIFICATION
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           If settlement is achieved, counsel shall immediately notify Victoria Ericksen,
 3 Courtroom Deputy, at victoria_ericksen@wawd.uscourts.gov.

 4         The parties are responsible for complying with the terms of this Order. The Court
     may impose sanctions on any party who fails to comply fully with this Order.
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 6
           DATED: February 24, 2022.
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 8                                                   A
 9                                                   The Honorable Richard A. Jones
                                                     United States District Judge
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